                  Case 5:15-cv-00727-OLG Document 2 Filed 08/26/15 Page 1 of 2
                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO       DIVISION

                                     Supplement to JS 44 Civil Cover Sheet
                                    Cases Removed from State District Court

This form must be filed with the Clerk's Office no later than the first business day following
the filing of the Notice of Removal. Additional sheets may be used as necessary.

                  The attorney of record for the removing party MUST sign this form.
STATE COURT INFORMATION:
1. Please identify the court from which the case is being removed; the case number; and the complete
   style of the case.


    DLW Health Solution, LLC vs. Clevis Management, Corp d/b/a Haoeyou Compounding Pharmacy
    45th Judicial District Court of Bexar County, Texas
    Cause No: 2015-CI-12072




2. Was jury demand made in State Court?                Yes                No
   If yes, by which party and on what date?


   Party Name                                                                    Date




STATE COURT INFORMATION:
1. List all plaintiffs, defendants, and intervenors still remaining in the case. Also, please list the
   attorney(s) of record for each party named and include the attorney's firm name, correct mailing
   address, telephone number, and fax number (including area codes).

    DLW Health Solutions, LLC, Plaintiff
    John Castillo
    Farrimond Castillo & Bresnaham, P.C.
    130 E. Travis Street, Suite 350
    San Antonio, Texas 78205
    210-231-0919
    fax 210-231-0004
    email jcastillo@fcbtxlaw.com

    Clevis Management Corp, d/b/a Haeoyou Compounding Pharmacy, Defendant
    J. Seth Grove, Charles M.R. Vethan, Joseph Lanza
    Vethan Law Firm
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    San Antonio, Texas 78209
    210-824-2220
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    Anticipated
   TXWD         pre hactovice
         - Supplement         co-counsel
                           JS 44 (Rev. 10/2004)
    Eliot Krieger, Charles Spagnola, Adam Tamburelli
    Jarvis, Krieger & Sullivan, LLP
                     Case 5:15-cv-00727-OLG Document 2 Filed 08/26/15 Page 2 of 2

2. List all parties that have not been served at the time of the removal, and the reason(s) for
   non-service.


     N/A




3. List all parties that have been non-suited, dismissed, or terminated, and the reason(s) for their
   removal from the case.


     N/A




COUNTERCLAIMS, CROSS-CLAIMS, and/or THIRD-PARTY CLAIMS:
1. List separately each counterclaim, cross-claim, or third-party claim still remaining in the case and
   designate the nature of each such claim. For each counterclaim, cross-claim, or third-party claim,
   include all plaintiffs, defendants, and intervenors still remaining in the case. Also, please list the
   attorney(s) of record for each party named and include the attorney's firm name, correct mailing
   address, telephone number, and fax number (including area codes).




VERIFICATION:


     J. Seth Grove                                                           8/26/2015
    Attorney for Removing Party                                              Date



     Defendant
    Party/Parties




TXWD - Supplement to JS 44 (Rev. 10/2004)
